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UNITED STATES DISTRICT COURT P-SEND
CENTRAL DISTRICT OF CALIFORNIA
CRIMINAL MINUTES - GENERAL

Case No:  CR-03-687-RGK / Date: July 22, 2004
CR 03-689-RGK *

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PRESENT: THE HONORABLE R. GARY KLAUSNER, U.S. DISTRICT JUDGE

 

Jennifer Corbet

 

Sharon L. Williams Not Reported Kevin Rosenberg
Deputy Clerk Court Reporter Asst. U.S. Attorney (Not Present)
INTERPRETER: None
U.S.A. vs (Dis listed below) Attorneys for Defendants
CR 03-687-RGK:
1} Juan Emanuel Lococo 1) Darlene Ricker
Not Present/Custody Not Present/Appointed
2) Charlotte Venia Jackson 1) Philip Deitch
Not Present/Custody Not Present/Appointed
CR 03-689-RGK:
1) John D. Edwards 1) Ken Bezadhi
Not Present/Custody Not Present/Appointed
2) Juan Emanuel Lococo 2) Darlene Ricker
Not Present/Custody Not Present/Appointed
3) Charlotte Venia Jackson 3) Philip Deitch
Not Present/Custody Not Present/Appointed

PROCEEDINGS: (IN CHAMBERS NOTICE TO ALL PARTIES AND ORDER

The Court hereby sets a status conference for Monday, July 26, 2004 at 1:30
p.m.

The Court will address (1) defendant Lococo’s request to relieve attorney Ricker;
and (2) attorney Ricker and Deitch’s request for no trial on August 5, 2004 due to
calendar conflicts.

in consideration of the above requests, the Court will consider a continuation of
the trial to either August 17, 2004 or August 24, 2004 at 9:00 a.m.

IT IS SO ORDERED.

cc. PSA USPO

  
 

MINUTES FORM
CRIMINAL

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